        Case 2:09-cr-00567-RBS Document 84 Filed 02/20/18 Page 1 of 2
                                             U.S. Department of Justice




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                                             February 20, 2018


Via ECF

Hon. R. Barclay Surrick
United States District Judge
8614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1797

      Re:    United States v. Derick Antonio Taylor, No. 09-567

Dear Judge Surrick:

        This case presents one of the numerous habeas matters triggered by the
Supreme Court’s 2015 decision in Johnson. After more than two years of
litigation, it appears that most of the recurring issues presented in these cases are
currently pending before the Third Circuit or have been resolved. We write to
advise the Court of legal developments related to the pending 2255 motion in this
case.

       In this matter, defendant Derick Antonio Taylor seeks relief under 28
U.S.C. § 2255, asserting that he was incorrectly sentenced under the Armed
Career Criminal Act. He asserts that, following the invalidation of the “residual
clause” in the definition of “violent felony” in ACCA, in Johnson v. United States,
135 S. Ct. 2551 (2015), he no longer has a sufficient number of predicate
convictions to qualify for sentencing under ACCA. The government filed its
response on November 16, 2015, and filed a supplemental response on August 4,
2016.

      Whether Taylor qualifies as an ACCA recidivist turns on whether his prior
conviction for third-degree murder under Pennsylvania law is a “violent felony”
under the “elements clause” in ACCA. That question in turn depends on whether
reckless conduct may amount to the “use” of force, for purposes of the elements
clause. This issue has recently been briefed and argued to the Third Circuit, in
United States v. Icxandro Santiago, No. 16-4194 (argued Dec. 11, 2017), and
        Case 2:09-cr-00567-RBS Document 84 Filed 02/20/18 Page 2 of 2
Letter to Court
February 20, 2018
Page 2


United States v. Marc Harris (argued Jan. 31, 2018). We will advise the Court
when decisions are reached in these cases.

       To date, four Circuit Courts have held that reckless conduct can constitute
the requisite use of force under ACCA and the identical elements clause in
U.S.S.G. § 4B1.2. See United States v. Mendez-Henriquez, 847 F.3d 214, 221-22
(5th Cir. 2017); United States v. Verwiebe, 874 F.3d 258, 264 (6th Cir. 2017);
United States v. Fogg, 836 F.3d 951 (8th Cir. 2016); United States v. Pam, 867 F.
3d 1191, 1207-08 (10th Cir. 2017). One appellate court disagrees. See United
States v. Windley, 864 F.3d 36 (1st Cir. 2017) (adopting the reasoning of Bennett
v. United States, 868 F.3d 1, withdrawn and vacated as moot, 870 F.3d 34 (1st
Cir. 2017)). See also United States v. Benally, 843 F.3d 350, 354 (9th Cir. 2016)
(finding it unnecessary to reach this issue but acknowledging that its precedent
holding that recklessness was not a sufficient mens rea under the elements clause
in Section 16(b) was in tension with Voisine, as the latter “suggested the
opposite”).

      Please advise if the Court wishes any further information regarding this
matter at this time.

                               Respectfully yours,

                               LOUIS D. LAPPEN
                               United States Attorney


                               /s Robert A. Zauzmer
                               ROBERT A. ZAUZMER
                               Assistant United States Attorney
                               Chief of Appeals


                               /s Bernadette McKeon
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cc:   Mr. Derick Antonio Taylor
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